97 F.3d 1459
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Maria Elena HERNANDEZ, Petitioner,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 96-70205.
    United States Court of Appeals, Ninth Circuit.
    Submitted Sept. 10, 1996.*Decided Sept. 12, 1996.
    
      On Petition for Review of an Order of the Board of Immigration Appeals, INS No. Aej-atg-hhr.
      BIA
      REVIEW DENIED.
      Before:  FLETCHER, BRUNETTI and JOHN T. NOONAN, Jr., Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Maria Elena Hernandez petitions for review of the decision of the Board of Immigration Appeals affirming an immigration judge's denial of her request for safe haven under international law.  We deny the petition because this contention is foreclosed by our recent opinion in  Galo-Garcia v. INS, 86 F.3d 916 (9th Cir.1996).1
    
    
      3
      PETITION FOR REVIEW DENIED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         All pending motions are denied as moot
      
    
    